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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION



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                                          :
IN RE: Paragard IUD Products              :         CIVIL ACTION NO.
Liability Litigation                      :         1:20-md-02974-LMM
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                                      ORDER

      This multi-district litigation (“MDL”) involves the contraceptive Paragard,

an intrauterine device (“IUD”), which is regulated as a drug under the Federal

Food, Drug, and Cosmetic Act (“FDCA”), 21 U.S.C. § 301 et seq., and the federal

Food and Drug Administration’s (“FDA”) implementing regulations in Title 21 of

the Code of Federal Regulations. Dkt. No. [79] at 1 & ¶¶ 30, 51, 72, 85. The matter

is presently before the Court on the Motion to Dismiss Plaintiffs’ Second

Amended Master Personal Injury Complaint,1 filed by defendants Teva

Pharmaceuticals USA, Inc. (“Teva USA”); Teva Women’s Health, LLC; Teva

Branded Pharmaceutical Products R&D, Inc.; The Cooper Companies, Inc.; and

CooperSurgical, Inc. Dkt. No. [89].




      1      For simplicity’s sake, the Court refers to the Second Amended Master
Personal Injury Complaint, Dkt. No. [79], as “the complaint.”
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      Defendants filed the motion to dismiss on May 6, 2021. Dkt. No. [89].

Plaintiffs have filed a response brief in opposition to the motion, Dkt. No. [136],

and Defendants have filed a reply brief in support of the motion, Dkt. No. [162].

The Court heard oral argument on September 21, 2021. Dkt. No. [218]. After due

consideration, the Court enters the following Order.

I.    BACKGROUND2

      Paragard is a non-hormonal, non-surgical IUD that is placed into a

woman’s uterus by a healthcare provider. Dkt. No. [79] ¶¶ 30-31. It is composed

of copper wire wrapped around a T-shaped plastic frame. Id. ¶ 31. The copper is

intended to produce an inflammatory reaction that disrupts sperm transport and

egg fertilization and prevents a woman from getting pregnant. Id. A thin thread

tied through the tip of each Paragard is intended to aid in the easy detection and

non-surgical removal of Paragard from a woman’s body. Id.

      Each Plaintiff in this MDL is a woman who had a Paragard break while it

was still inside her body. Id. ¶¶ 11, 14, 148, 150. Plaintiffs allege that Paragard is

prone to break inside a woman’s body, partly because the product is insufficiently

flexible. Id. ¶ 52. Unlike other IUDs, “Paragard’s arms have no curvature and are

fixed, straight plastic arms bonded to [a] plastic vertical post,” which results in a

less flexible product. Id. ¶¶ 51, 62. Plaintiffs contend this unique, rigid, T-shaped




      2        For the purposes of this Order, the Court accepts as true the well-pleaded
facts alleged in the complaint and construes all reasonable inferences from those facts in
favor of Plaintiffs. See infra Part II.

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design is prone to snap at the arms, causing Paragard to break more than any

other IUD on the market in the United States. Id. ¶¶ 51, 53, 62. Plaintiffs state

the inflexibility is also partly caused by the raw plastic not meeting minimum

flexibility requirements. Id. ¶¶ 37, 54. Plaintiffs allege that because of these flaws,

Paragard breaks in the body before or during removal and has caused their

injuries. Id. ¶¶ 62, 148-54.

         Plaintiffs further allege that Defendants knew or should have known that

Paragard could cause and did cause serious harm to women due to its propensity

to break in utero or during removal but that Defendants failed to adequately warn

of these risks. Id. ¶¶ 64-69. Specifically, they aver that between 2009 and 2020,

Defendants received reports of over 2000 Paragard breaks, which should have

put them on notice of disproportionally frequent breakage, but that Defendants

failed to properly investigate, record, or submit those reports to the FDA and

failed to amend the label to warn (1) that Paragard is prone to break, including

during removal, even when it is neither embedded in nor has perforated the

uterus; (2) of the frequency with which such breakages occur; and (3) of the

severe injuries—including infertility—that can result from such breakages.

Id. ¶¶ 6, 7, 68-70, 78-81, 97-102, 120-21. They additionally contend that Paragard

undertook a concerted marketing campaign to promote Paragard as a safe,

effective, and easily reversible form of non-surgical birth control. Id. ¶¶ 9, 30,

75-77.




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      Plaintiffs also allege that they suffered injuries from Paragard’s

manufacturing defects, which resulted from Defendants’ failure to comply with

Current Good Manufacturing Practices (“CGMPs”) and their own Standard

Operating Procedures (“SOPs”). Id. ¶¶ 129-47.

II.   LEGAL STANDARD

      Federal Rule of Civil Procedure 8(a)(2) requires that a pleading contain a

“short and plain statement of the claim showing that the pleader is entitled to

relief.” Fed. R. Civ. P. 8(a)(2). While this pleading standard does not require

“detailed factual allegations,” the Supreme Court has held that “labels and

conclusions” or “a formulaic recitation of the elements of a cause of action will

not do.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007)).

      To withstand a Rule 12(b)(6) motion to dismiss, “a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Id. (quoting Twombly, 550 U.S. at 570). “Plausibility”

requires more than a “sheer possibility that a defendant has acted unlawfully” or

the “mere possibility of misconduct,” and a complaint that alleges facts that are

“merely consistent with” liability “stops short of the line between possibility and

plausibility of entitlement to relief.” Iqbal, 556 U.S. at 678-79 (quotation marks

omitted). A complaint is plausible on its face when the plaintiff pleads factual

content necessary for the court to draw the reasonable inference that the

defendant is liable for the conduct alleged. Id. (citing Twombly, 550 U.S. at 556).


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In other words, the well-pleaded allegations in the complaint must contain

factual allegations sufficient to “nudge[] [a party’s] claims across the line from

conceivable to plausible.” Twombly, 550 U.S. at 570.

       At the motion-to-dismiss stage, “‘all well-pleaded facts are accepted as

true, and the reasonable inferences therefrom are construed in the light most

favorable to the plaintiff.’” FindWhat Inv’r Grp. v. FindWhat.com, 658 F.3d 1282,

1296 (11th Cir. 2011) (quoting Garfield v. NDC Health Corp., 466 F.3d 1255, 1261

(11th Cir. 2006)). However, this principle does not apply to legal conclusions set

forth in the complaint. Iqbal, 556 U.S. at 678.

III.   DISCUSSION

       A.    Shotgun Pleading

       Defendants first argue that the complaint is an improper shotgun pleading.

Dkt. No. [89-1] at 25-28.3 They contend that the complaint flouts Rule 8’s

demand to provide a “short and plain statement of the claim” by impermissibly

grouping all of the corporate defendants and never attributing any particular

alleged act or omission to any particular defendant. Id. They also argue that the

complaint is confusing because every count in the complaint incorporates by

reference all of the factual allegations appearing in its first 168 paragraphs, many




       3      Where a brief’s original page numbering differs from the numbering
assigned by the Court’s electronic filing system, the Court will use the page numbers
assigned by its electronic filing system.

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of which Defendants contend are not connected to the pleaded claims in any

meaningful way. Id. at 27.

        The Court is not persuaded. Defendants’ statements of the law are correct.

The Eleventh Circuit Court of Appeals condemns the use of shotgun pleadings.

See, e.g., Weiland v. Palm Beach County Sheriff’s Office, 792 F.3d 1313, 1321-23

(11th Cir. 2015); Magluta v. Samples, 256 F.3d 1282, 1284 (11th Cir. 2001). It has

also held that in a case involving multiple defendants, “generalized allegations

‘lumping’ multiple defendants together are insufficient.” W. Coast Roofing &

Waterproofing, Inc. v. Johns Manville, Inc., 287 F. App’x 81, 86 (11th Cir. July 24,

2008). A complaint must also connect the causes of action to the alleged facts

underlying those causes. Wagner v. First Horizon Pharm. Corp., 464 F.3d 1273,

1279 (11th Cir. 2006); Weiland, 792 F.3d at 1322.

        The fact that a complaint raises common allegations against a group of

defendants or contains a claim that refers to some factual allegations that may be

irrelevant to that particular claim does not necessarily make it a shotgun

complaint, however. The characteristic that makes a complaint a shotgun

complaint is its “fail[ure] to give the defendants adequate notice of the claims

against them and the grounds upon which each claim rests.” Weiland, 792 F.3d at

1323.

        Here, Defendants have shown themselves perfectly capable of discerning

and describing Plaintiffs’ claims and factual allegations. See, e.g., Dkt. No. [89-1]

at 11-13; Dkt. No. [218] at 18-20. The Court has also found no difficulty in doing


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so. Although the complaint has some attributes that have been recognized in

shotgun complaints, it provides the detail and the clarity necessary to comply

with the applicable pleading standards. The Court is satisfied that Defendants

have received fair notice of Plaintiffs’ claims and thus that “this is not a situation

where a failure to more precisely parcel out and identify the facts relevant to each

claim materially increased the burden of understanding the factual allegations

underlying each count.” Weiland, 792 F.3d at 1324; accord Pinson v. JPMorgan

Chase Bank, N.A., 942 F.3d 1200, 1208 (11th Cir. 2019) (declining to dismiss an

inelegantly pleaded complaint where the court had no difficulty understanding

the allegations and there was “no indication that [the defendant] had difficulty

understanding them either”). Accordingly, the Court finds that the complaint in

this matter is not an impermissible shotgun complaint.

      To Defendants’ point, it is not ideal that Defendants are grouped and that

the claims presently cross-reference all the paragraphs appearing in the factual-

allegations section of the complaint. However, in this particular lawsuit, it would

be premature to require Plaintiffs to make a more definite statement, as the

Paragard ownership history and Defendants’ corporate structures create an

unusually complex situation that involves numerous entities with potentially

overlapping roles and responsibilities.

      The complaint summarizes this history. Plaintiffs allege in the complaint

that non-party The Population Council (“TPC”) developed Paragard, submitted

the new drug application (“NDA”) to the FDA, and received the initial approval.


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Dkt. No. [79] ¶¶ 32, 33. Several non-party companies subsequently marketed

Paragard for distribution. Id. ¶ 34. Later, in or around 2003, non-party FEI

Women’s Health, LLC (“FEI”) acquired the Paragard NDA and the right to

market Paragard in the United States, and it thereafter manufactured and sold

Paragard in the United States. Id. ¶ 38.

      On or around November 9, 2005, Duramed Pharmaceuticals, Inc.

(“Duramed”), a subsidiary of Barr Pharmaceuticals, Inc. (“Barr”), acquired FEI,

including the Paragard NDA, and began manufacturing and selling Paragard in

the United States. Id. ¶ 39. On December 3, 2008, Teva Pharmaceutical

Industries Ltd. (“TPI Ltd.”) acquired Barr. Id. ¶ 40. As a result of that

transaction, Duramed became an indirect, wholly owned subsidiary of Teva USA,

and Teva USA became the owner of Paragard. Id. ¶¶ 16, 40. During this

transaction, TPI Ltd. and Teva USA also acquired Duramed’s manufacturing

facilities, sales force, and responsibility for maintaining and updating the labeling

for Paragard. Id. ¶ 40.

      Teva USA manufactured Paragard through Duramed, which held the

Paragard NDA, and designed, developed, manufactured, tested, labeled,

packaged, distributed, marketed, and sold Paragard through September 2009.

Id. ¶ 41. In or around September 2009, Teva USA changed the name of Duramed

to Teva Women’s Health, Inc., which then continued to operate as a wholly

owned subsidiary of Teva USA. Id. ¶ 42. From September 2009 to August 2017,

Teva Women’s Health, Inc., held the Paragard NDA and designed, developed,


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manufactured, tested, labeled, packaged, distributed, marketed, and sold

Paragard throughout the United States. Id. ¶ 43. In or around August 11, 2017,

Teva Women’s Health, Inc., was converted into Teva Woman’s Health, LLC.

Id. ¶ 44. From August 11, 2017, to November 1, 2017, Teva Women’s Health, LLC,

held the Paragard NDA and designed, developed, manufactured, tested, labeled,

packaged, distributed, marketed, and sold Paragard throughout the United

States. Id. ¶ 45. On November 1, 2017, The Cooper Companies, Inc., and

CooperSurgical, Inc. (collectively, “Cooper Defendants”) purchased Teva

Women’s Health, LLC, including the Paragard asset, from TPI Ltd., and have

since held the Paragard NDA and designed, developed, manufactured, tested,

labeled, packaged, distributed, marketed, and sold Paragard throughout the

United States. Id. ¶¶ 22-24, 47, 48.

      It therefore appears that each defendant’s liability—to the extent that any

of the defendants may be held liable—depends on the timing of their ownership

and conduct, the evidence of which is presently under Defendants’ exclusive

control and therefore is only ascertainable through discovery. Thus, while it is

likely that the Court will require Plaintiffs to make a more definite statement

prior to summary judgment, it would be premature to do so now.

      For these reasons, the Court concludes that the complaint is not an

impermissible shotgun pleading and that it is sufficiently specific to enable

Defendants to file an answer and allow the parties to proceed to discovery.




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      B.     Failure to State a Plausible Claim for Relief

      Second, Defendants argue that the complaint does not allege facts

sufficient to state a plausible claim for defective design, failure to warn, or

defective manufacturing. Dkt. No. [89-1] at 28-34. They contend that aside from

repeated allegations that Paragard may break and that Defendants did not warn

of that possibility, the complaint is otherwise “a study in vague, conclusory

statements and legal conclusions – none of which state a viable claim sufficient to

withstand legal scrutiny.” Id.

      Again, the Court does not agree. Plaintiffs provide factual underpinnings

for the design-defect claims in that they allege that “Paragard is inherently

dangerous and defective, unfit and unsafe for its intended and reasonably

foreseeable uses, and does not meet or perform to the expectation of patients

and/or their healthcare providers” because it “is prone to break while inside a

woman’s body, including . . . during routine removal during the course of

ordinary use.” Dkt. No. [79] ¶¶ 172-73. They also set forth reasons why the

product has the propensity to break: its lack of flexibility caused by the use of

plastic T-shaped units that fall below minimum flexibility standards within the

approved expiration date of the product; the lack of any curvature in the arms of

the T-shaped units; the product’s propensity to decay and lose flexibility over

time; the lack of flexibility of the raw plastic used in manufacturing Paragard; and

the propensity of the arms to break or break at the joint during removal rather

that fold upward to aid in removal. Id. ¶¶ 37, 51, 54, 55, 62. They further allege


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that “Paragard breaks more and has more arm breaks than any other IUD on the

market in the United States.” Id. ¶ 53. They additionally aver that Defendants’

failure to provide adequate warnings and instructions for Paragard rendered the

device unreasonably dangerous and defective, in that Paragard’s warnings do not

include warnings of the severity and frequency of the risks associated with

Paragard’s removal, which include the risk that breakage or removal may require

surgical intervention and loss of reproductive health or fertility; Paragard’s

propensity to break inside the body, including during routine and non-surgical

removal, even when non-embedded; and the frequency of the breakages, id.

¶¶ 10, 68-70, 81, and they allege that the warnings that were provided were

obscured by misleading marketing messages claiming that Paragard is easily and

immediately reversible through non-surgical means, id. ¶¶ 10, 58, 59, 63, 194.4

These factual allegations are sufficient to state plausible design-defect claims, and

the portion of the design-defect allegations pertaining to the lack of warnings are

also sufficient to state plausible claims for failure to warn.5


       4      Design-defect claims may turn on the warnings associated with the
product as well as the formulation of the product itself. Mut. Pharm. Co. v. Bartlett,
570 U.S. 472, 484 (2013).
       5     Defendants additionally argue that Plaintiffs’ claims fail because the
Paragard labels already provide the necessary warnings. Dkt. No. [89-1] at 29-30,
33. It may indeed have been possible for the Court to consider the labels on a
motion to dismiss without converting the motion to a motion for summary
judgment. See Caver v. Cent. Ala. Elec. Coop., 845 F.3d 1135, 1141 n.4 (11th Cir.
2017) (explaining that a court may consider extrinsic documents on a motion to
dismiss without converting the motion to a motion for summary judgment if the
documents are central to the plaintiff’s claim and their authenticity is not
disputed). Such an approach is inappropriate here, however, as Defendants

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      Contrary to Defendants’ argument, Plaintiffs also allege facts sufficient to

raise a plausible manufacturing-defect claim. Plaintiffs point to precise

manufacturing practices Defendants were required to follow to ensure that

Paragard did not deviate from design specifications, id. ¶¶ 129-36, and explain

how Paragard nevertheless deviated from design specifications: that the products

were prone to breakage because they were produced in violation of federally

mandated safety regulations and maintenance, quality control, and cleanliness




simply provided internet links to the purported documents rather than filing the
documents on the record. Dkt. No. [89-1] at 29-30. While this may seem
somewhat formalistic in the present digital age, the Local Rules of this Court
require that parties file as exhibits to their briefs copies of evidentiary materials
that are referenced therein. Cf. LR 56.1(C), NDGa. Moreover, web pages change,
and even “accurate citations do not always mean that a future researcher will be
able to find the exact same information as the original researcher.” Raizel Liebler
& June Liebert, Something Rotten in the State of Legal Citation: The Life Span of
a U.S. Supreme Ct. Citation Containing an Internet Link (1996-2010), 15 Yale J.L.
273, 275 (2013). The Court also finds it notable that what is purported to be a
Paragard label that appeared in the marketplace in 2005 is labeled as “proposed
prescribing information.” See PDF at
https://www.accessdata.fda.gov/drugsatfda_docs/label/2005/
018680s060lbl.pdf (cited at Dkt. No. [89-1] at 32 n.12) (italics added). Finally,
even if the PDFs are accurate copies of at least some of the labels that were
distributed in the marketplace during the relevant time period, the Court has no
assurance that the links represent all of the labels that were in the marketplace at
that time. The Court therefore finds that the issue is not properly before it.
       Additionally, the Court’s review of the PDFs does not reveal warnings of
the strength that Plaintiffs contend was necessary: that breakage or removal may
require surgical intervention and cause loss of reproductive health or fertility;
Paragard’s propensity to break inside the body, including during routine and
non-surgical removal, even when non-embedded; and the frequency of the
breakages. See PDFs at https://www.accessdata.fda.gov/drugsatfda_docs/label/
2005/018680s060lbl.pdf; https://www.accessdata.fda.gov/drugsatfda_docs/
label/2013/018680s066lbl.pdf. Thus, even were the issue properly before the
Court, the claims would not be subject to dismissal at this time.

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standards; were made with plastic material that fell below minimum flexibility

requirements; contained copper that corroded or rotted even before shipment;

were produced without adequate quality assurance and quality control

procedures; and were produced in violation of Defendants’ written policies and

standard operating procedures, id. ¶¶ 137-47. These allegations also are not vague

or general.

      The Court therefore finds no basis in Defendants’ motion for dismissing

the defective design, failure to warn, or defective manufacturing claims for failure

to state a plausible claim for relief.

      C.      Fraud Claims

      Third, Defendants contend that Plaintiffs’ fraud claims are not pleaded

with the required level of particularity. Dkt. No. [89-1] at 34-38. The Federal

Rules of Civil Procedure require a party alleging fraud to “state with particularity

the circumstances constituting fraud.” Fed. R. Civ. P. 9(b). “The purpose of

Rule 9(b) is to ‘alert[] defendants to the precise misconduct with which they are

charged and protect[] defendants against spurious charges.’” U.S. ex rel. Matheny

v. Medco Health Sols., Inc., 671 F.3d 1217 (11th Cir. 2012) (quoting Ziemba v.

Cascade Int’l, Inc., 256 F.3d 1194, 1202 (11th Cir. 2001)) (modifications in

Matheny).

      Defendants point out that the Eleventh Circuit Court of Appeals has stated

that a plaintiff asserting a fraud claim should allege “(1) the precise statements,

documents, or misrepresentations made; (2) the time, place, and person


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responsible for the statement; (3) the content and manner in which these

statements misled the [p]laintiffs; and (4) what the defendants gained by the

alleged fraud.” Brooks v. Blue Cross & Blue Shield of Fla., Inc., 116 F.3d 1364,

1380-81 (11th Cir. 1997). In other words, the plaintiff must identify the “who,

what, where, and how” of the alleged fraud. TechJect, Inc. v. PayPal Holdings,

Inc., Civ. Action File No. 1:17-CV-04058-ELR, 2018 WL 9812751, at *6 (N.D. Ga.

Aug. 10, 2018) (Ross, J.) (citing Am. Dental Ass’n v. Cigna Corp., 605 F.3d 1283,

1291 (11th Cir. 2010)). While there is no citation in Defendants’ brief to any case

in which a court strictly applied Rule 9(b) in an MDL, Dkt. No. [89-1] at 34-38,

Defendants did at oral argument point to In re Zofran (Ondansetron) Products

Liability Litigation, MDL No. 1:15-2657-FDS, 2017 WL 1458193 (D. Mass.

Apr. 24, 2017), wherein the court held that broad allegations of statements made

in nationwide marketing campaigns are insufficient to pass muster under

Rule 9(b). Dkt. No. [218] at 29 (citing In re Zofran, 2017 WL 1458193 at *5-6).

Defendants argue that the fraud claims here are likewise deficient because of

“[t]he shotgun nature of the Complaint”; because Plaintiffs do not identify a

representation of fact that is false; because Plaintiffs do not identify any specific

communications where allegedly false statements appeared; and because

Plaintiffs have not pleaded facts to support the “reliance” element of the fraud

claims.

      The Court is not convinced. First, In re Zofran, the only MDL case

Defendants rely upon, is an unpublished, out-of-circuit district-court case and


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therefore is, at best, of only persuasive value. See Camreta v. Greene,

563 U.S. 692, 709 n.7 (2011) (“A decision of a federal district court judge is not

binding precedent in either a different judicial district, the same judicial district,

or even upon the same judge in a different case.”) (internal quotation marks

omitted); United States v. Moore, 541 F.3d 1323, 1328 n.3 (11th Cir. 2008)

(explaining that unpublished decisions are not binding but may provide

persuasive authority). The Court has examined that case and the cases it relied

upon and finds their analyses of the sufficiency of the fraud claims in the

respective master complaints too summary to be of much use in its own analysis.

See In re Zofran, 2017 WL 1458193 at *5 (reasoning that the creation of an MDL

proceeding does not affect the requirements of the Federal Rules of Civil

Procedure and that “Rule 9(b) applies to MDL proceedings no less than any other

civil proceeding in which fraud is alleged”); In re Gen. Motors Corp. Anti-Lock

Brake Prods. Liab. Litig., 966 F. Supp. 1525, 1534-35 (E.D. Mo. 1997) (relying on

non-MDL cases for pleading standard); In re Ford Motor Co. Speed Control

Deactivation Switch Prods. Liab. Litig., MDL Dkt. No. 1718, 2007 WL 2421480,

at *9 (E.D. Mich. Aug. 24, 2007) (same).

      Conversely, the Court is persuaded by the analysis of two cases—In re

Zimmer Nexgen Knee Implant Products Liability Litigation, MDL No. 2272,

2012 WL 3582708 (N.D. Ill. Aug. 16, 2012), and In re Trasylol Products Liability

Litigation, No. 08-MD-1928, 2009 WL 577726 (S.D. Fla. Mar. 5, 2009)—cited

both by Plaintiffs and by the court in In re Zofran for other principles. See


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Dkt. No. [136] at 36-37; In re Zofran, 2017 WL 1458193 at *5. In those cases,

which both involved the marketing of medical products, the courts recognized

that a master complaint is not intended to include each individual plaintiff’s

unique allegations, but it instead sets forth common claims across an MDL and

therefore should not treated like an ordinary complaint. As to fraud claims, in

particular, the court in In re Trasylol found that it was necessary to balance the

specificity required under Rule 9(b) with the MDL’s objective of consolidating

discovery proceedings of cases from various states throughout the country, each

containing claims under the laws of their home states, “in order to assure an

efficient, just and consistent resolution to the issues presented [t]herein.” In re

Trasylol, 2009 WL 577726 at *8-9 (“The Court cannot envision the task of

adequately pleading the consolidated master complaint in a manner which would

satisfy Defendants, without completely removing the compromise and attempt at

efficiency the Parties and I had in mind in allowing the filing of the Consolidated

Master Complaint.”). It found that the plaintiffs had minimally stated enough to

allow discovery into what information the defendants possessed as compared to

information set forth in their packaging inserts and marketing materials, and it

recognized that although the fraud claims asserted in the master complaint were

“somewhat overly broad” and insufficient themselves to state a plausible fraud

claim, the better approach would be to “assess the sufficiency of [the] plaintiffs’

[fraud] claims with substantial leniency” in favor of requiring them to be pleaded

with particularity in the individual plaintiffs’ complaints and “subject to discovery


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during the case-specific discovery stage if, and only if, properly alleged.” Id. The

Court in In re Zimmer expressly found the In re Trasylol analysis persuasive and

followed suit. In re Zimmer, 2012 WL 3582708 at *12 (finding “summary

judgment upon a more fully developed record the most appropriate time to

address the[] [fraud] claims”).

      The Court likewise concludes that Defendants’ position would require a

degree of factual detail that is untenable in a master complaint and that at this

stage in the case, it is enough for the master complaint to set forth factual

allegations concerning the marketing and promotion of Paragard sufficient to put

Defendants on notice of the types of representations that form the basis of

Plaintiffs’ claims. Plaintiffs here have set forth such allegations, as they aver that

between 2009 and 2020, Defendants received reports of more than 2000

Paragard breaks; that “limited clinical testing for Paragard revealed a higher risk

of adverse events, above and beyond those associated with other products and

procedures available for birth control”; that “Defendants deliberately failed to

follow up on the adverse results from clinical studies and/or formal and informal

reports from physicians and/or other healthcare providers and either ignored,

concealed, and/or misrepresented those findings”; and that Defendants therefore

knew and failed to disclose in representations to Plaintiffs and their healthcare

providers that Paragard was designed and manufactured negligently and

defectively, that “Paragard was not as safe as other products and procedures

available to aid in the long-term prevention of pregnancy,” that “the risk of


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adverse events with Paragard was higher than with other products and

procedures available for birth control,” that “Paragard was not adequately

tested,” that Paragard had defects that “caused dangerous and adverse side

effects, including but not limited to unacceptable incidence of breakage upon

removal,” and that the Paragard removal procedure “had a very high failure rate.”

Dkt. No. [79] ¶¶ 121, 311; see also id. ¶¶ 111, 125-27, 309-10, 312-19; compare In re

Trasylol, 2009 WL 577726 at *2-5. Plaintiffs further allege that Defendants

ignored their duty to disclose the risks and adverse events and instead

represented to the public, the medical community, Plaintiffs, and their

physicians, through vehicles including “websites, information presented at

medical and professional meetings, information disseminated by sales

representatives to physicians and other medical care providers, professional

literature, reports, press releases, advertising campaigns, television commercials,

print advertisements, and other commercial media” that Paragard was safe and

effective. Id. ¶¶ 112-20, 292, 300. These pleadings are adequate to allow

discovery into what Defendants knew of the safety of Paragard and each

defendant’s role in the gathering of information and the dissemination of

marketing messaging.

      It also bears noting that Plaintiffs here have asserted facts pertaining to

specific marketing communications. For instance, they have provided a

screengrab from the Paragard website that they allege was posted from December

2016 through April 2018, which stated that “PARAGARD is over 99% effective


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and 100% hormone free”; that “[i]t helps prevent pregnancy for up to 10 years,

but your healthcare professional can remove it at any time”; that “[a]s soon as

PARAGARD is removed by your healthcare professional, you can try to get

pregnant the same day”; and that Paragard is “FDA approved for over 30 years

and used by millions of women.” Dkt. No. [79] ¶ 76. A reasonable jury could

certainly find that the communication amounted to a representation that

Paragard was safe to use and easily removable. The allegations also clearly set

forth the “what, where, and how,” and set the stage for targeted discovery to glean

from information under Defendants’ control who it was that was responsible for

making the statements. “The heightened pleading standard of Rule 9(b) is

relaxed when specific facts are ‘peculiarly within the defendant’s knowledge or

control.’” SEC v. Melvin, Civ. Action No. 1:12-CV-2984-CAP, 2013 WL 12062834,

at *4 (N.D. Ga. June 26, 2013) (Pannell, J.) (quoting Hill v. Morehouse Med.

Assocs., Inc., No. 02-14429, 2003 WL 22019936, at *3 (11th Cir. Aug. 15, 2003)).

      A similar analysis applies to Plaintiffs’ allegations regarding the Paragard

labeling. Plaintiffs have alleged that Defendants made false statements in the

labeling of Paragard by failing at all times to include a warning on the label that

users may be injured because Paragard could break before or during removal,

failing to include a warning about the frequency of such breakages, and failing to

attempt to change the label to delete a false or misleading expiration date or add

a proper expiration date to ensure that Paragard would not degrade and thus

increase its propensity to break, despite having actual or constructive knowledge


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that Paragard could break before or during removal and/or that the expiration

date was too long. Dkt. No. [79] ¶¶ 100-02. These pleadings are also sufficient to

establish the “what, where, and how,” and should likewise set the stage for

targeted discovery to determine from information under Defendants’ control who

it was that was responsible for making the statements.

      Plaintiffs have also alleged that on July 25, 2019, Defendant

CooperSurgical received a letter from the FDA admonishing Defendants for

making a “false or misleading representation[] about the risks associated with

Paragard,” stating that “[t]he TV ad misbrands Paragard within the meaning of

the Federal Food, Drug and Cosmetic Act and makes its distribution violative”;

that the “violation is concerning from a public health perspective because it

creates a misleading impression about the safety of Paragard”; and that Paragard

communications emphasizing that Paragard is “100% hormone free” and

contains “1 simple active ingredient” gave the impression to consumers that

Paragard was safer than other long-acting reversible contraceptives. Dkt. No. [79]

¶¶ 72, 73. The subject matter and timing of the letter should be sufficient to put

Defendants on notice of “who, what, where, and how.”

      For all of these reasons, the Court concludes that the allegations of fraud

are sufficient for the purposes of the master complaint.

      D.     Preemption

      Finally, Defendants move to dismiss Plaintiffs’ claims on preemption

grounds. Dkt. No. [89-1] at 38-54. Before a drug manufacturer may market a


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pharmaceutical drug, it must first submit to the FDA an NDA that contains,

among other things, investigation reports showing that the drug is safe and

effective; a full list of the articles used as components of the drug; a full statement

of the composition of the drug; a full description of the methods used in, the

facilities used for, and the controls used for the manufacture, processing, and

packing of the drug; and a proposed label. 21 U.S.C. § 355(a)-(b). In general,

following NDA approval, a drug manufacturer may only change a drug, Bartlett,

570 U.S. at 477, or a drug label, Wyeth v. Levine, 555 U.S. 555, 568 (2009), after

the FDA approves the change through a supplemental application. Defendants

argue that it was impossible for them to satisfy both these federal requirements

and the state law giving rise to Plaintiffs’ claims and thus that Plaintiffs’ claims

are preempted by the FDCA. Dkt. No. [89-1] at 38-54.

      The United States Constitution provides that the laws of the United States

“shall be the supreme Law of the Land . . . , any Thing in the Constitution or Laws

of any State to the Contrary notwithstanding.” U.S. Const. art. VI, cl. 2. “Congress

has not enacted [an express preemption] provision for prescription drugs.”

Wyeth, 555 U.S. at 574. Where no express preemption clause governs, courts will

not find implied preemption lightly. Va. Uranium, Inc. v. Warren, 139 S. Ct. 1894,

1900 (2019) (plurality opinion) (“[W]e are hardly free to extend a federal statute

to a sphere Congress was well aware of but chose to leave alone.”); see also

Wyeth, 555 U.S. at 573 (“Impossibility pre-emption is a demanding defense.”).

Thus, state law gives way to federal law by implication only “to the extent that it


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that it actually conflicts with federal law,” or in other words, “where it is

impossible for a private party to comply with both state and federal

requirements.” English v. Gen. Elec. Co., 496 U.S. 72, 79 (1990). The existence of

preemption is a question of law for the court to decide. Merck Sharp & Dohme

Corp. v. Albrecht, 139 S. Ct. 1668, 1672 (2019); id. at 1679 (specifying that the

question for the court is “whether the relevant federal and state laws

irreconcilably conflict”) (punctuation omitted).

          1.    Pleading Burden

      The Court first considers the threshold question of whether Plaintiffs were

required to plead facts showing that preemption does not apply. While

Defendants concede that preemption is an affirmative defense, they argue that it

was necessary for Plaintiffs to plead facts showing that Defendants could have

complied with state law without first obtaining FDA approval. Dkt. No. [218]

(Oral Arg. Tr.) at 33-34 (citing Gibbons v. Bristol-Myers Squibb Co., 919 F.3d

699, 708 (2d Cir. 2019); In re Celexa & Lexapro Mktg. & Sales Practices Litig.,

779 F.3d 34, 41 (1st Cir. 2015); Ignacuinos v. Boehringer Ingelheim Pharms. Inc.,

490 F. Supp. 3d 533, 541 (D. Conn. 2020); Mitchell v. Boehringer Ingelheim

Pharms., Inc., Case No. 1:16-cv-02384-STA-agb, 2017 WL 5617473, at *5

(W.D. Tenn. Nov. 21, 2017); and Utts v. Bristol-Myers Squibb Co., 251 F. Supp. 3d

644, 672-73 (S.D.N.Y. 2017)). However, as Plaintiffs point out, both the Supreme

Court and the Eleventh Circuit Court of Appeals have affirmed time and again

that a plaintiff does not have a burden to plead around an affirmative defense.


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See, e.g., Jones v. Bock, 549 U.S. 199, 211, 216 (2007); Gomez v. Toledo,

446 U.S. 635, 640 (1980); see also Quiller v. Barclays Am./Credit, Inc.,

727 F.2d 1067, 1069 (11th Cir. 1984), reinstated on reh’g en banc, 764 F.2d 1400

(11th Cir. 1985) (per curiam). Rather, a Rule 12 motion may be granted on an

affirmative defense only in the exceptional circumstance where “the defense

clearly appears on the face of the complaint.” Quiller, id.

      Even if the Eleventh Circuit pleading standard was not so well established,

the cases Defendants cite do not persuade the Court that it should grant

Defendants’ motion to dismiss on grounds that Plaintiffs failed to plead facts

showing that preemption does not apply. The court in Gibbons grounded its

determination that the plaintiff bears the burden of pleading facts showing the

absence of preemption based on Wyeth, which was in fact before the court at the

summary judgment stage, and PLIVA, Inc. v. Mensing, 564 U.S. 604 (2011), and

Mutual Pharmaceutical Co. v. Bartlett, 570 U.S. 472 (2013), in which the

defendants were generic drug manufacturers and preemption was therefore

apparent from the face of the complaint. See Gibbons, 919 F.3d at 708. The court

in Ignacuinos relied on Gibbons and ultimately found preemption because the

remedial measures demanded on the face of the complaint required changes—a

change in the labeled number of doses available in each unit or a change in the

dosage strength—that it found were as a matter of law “major” changes that

would require a supplemental submission and additional approval by the FDA.

Ignacuinos, 490 F. Supp. 3d at 541. In In re Celexa, the court simply assumed


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without deciding that it was the plaintiffs’ burden to plead facts showing that the

impossibility defense did not apply. In re Celexa, 779 F.3d at 40-43. The Court

also notes that the Supreme Court has been presented with and has rejected the

argument that efficiency considerations warrant placing the burden on the

plaintiff to show that an affirmative defense does not apply, contrary to the

reasoning stated in Utts, compare Jones, 549 U.S. at 215 with Utts, 251 F. Supp.

3d at 673, and that Mitchell relied on PLIVA, Wyeth, In re Celexa, and Utts,

Mitchell, 2017 WL 5617473 at *4-5.

      The Court will not depart from this Circuit’s well-established pleading

requirements as they pertain to the affirmative defense. Accordingly, the Court

will consider whether the preemption defense is apparent from the face of the

complaint.

          2.    Design-Defect Claims (Formulation)

      Relying primarily on Bartlett, Defendants argue that the design-defect

claims based on Paragard’s formulation are preempted by federal law because

Defendants could not change the Paragard formulation of their own volition:

“[o]nce a drug—whether generic or brand-name—is approved, the manufacturer

is prohibited from making any major changes to the ‘qualitative or quantitative

formulation of the drug product, including inactive ingredients, or in the

specifications provided in the approved application.’” Bartlett, 570 U.S. at 477

(quoting 21 C.F.R. § 314.70(b)(2)(i)) (cited at Dkt. No. [89-1] at 42-44); see also

Bartlett, id. at 483 (“In the drug context, either increasing the ‘usefulness’ of a


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product or reducing its ‘risk of danger’ would require redesigning the drug: A

drug’s usefulness and its risk of danger are both direct results of its chemical

design and, most saliently, its active ingredients.”) (cited at Dkt. No. [89-1]

at 40-41). In response, Plaintiffs contend that Defendants cannot point to a

regulation that prevents them from improving the quality of the materials used to

make the product. Dkt. No. [136] at 55-56.

      “[C]hanges in the qualitative or quantitative formulation of the drug

product, including inactive ingredients,” and “[c]hanges in the synthesis or

manufacture of the drug substance that may affect the impurity profile and/or

the physical, chemical, or biological properties of the drug substance” are

considered by the FDA to be the sort of “major changes” with “a substantial

potential to have an adverse effect on the identity, strength, quality, purity, or

potency of the drug product” that require supplemental submission and FDA

approval prior to distribution of the product. 21 C.F.R. § 314.70(b)(1).

Improvement in the quality of the materials used to make the product flexible for

longer appears likely to fall within these categories. Be that as it may, the need for

a supplement applies only to a change in a “condition established in an approved

NDA beyond the variations already provided for in the NDA.”

21 C.F.R. § 314.70(a)(1)(i). The NDA has not been entered into the record. It is

therefore impossible to determine at this juncture whether improving the quality

of the materials used to make the product would necessitate a change beyond the




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variations already provided for in the NDA. The Court therefore declines to

dismiss any formulation-related defective-design claims at this time.

          3.    Manufacturing-Defect Claims

      Defendants argue that Plaintiffs’ manufacturing-defect claims are also due

to be dismissed. Dkt. No. [89-1] at 51-54. They first note that “a manufacturing

defect refers to individual products that are improperly made while a design

defect concerns a defect in the entire product line” and contend that Plaintiffs’

manufacturing-defect claims must be preempted because they involve the entire

product line. Id. at 51-52. They also contend that the plastic in Paragard “is part

and parcel of the product design”; that the plastic is therefore an aspect of the

NDA that cannot be altered without the FDA’s prior approval; and that the claims

arising from injuries related to the plastic parts are therefore preempted as

design-defect claims. Id. at 52-53. They additionally argue that Plaintiffs have not

pleaded facts indicating how any particular Paragard or batch of Paragard units

departed from their intended design or how a particular manufacturing process

for any Paragard or batch of Paragard units should have been followed but was

not. Id. at 53. Finally, they contend that the allegations of defects in the

manufacturing process for Paragard amount to allegations that the process

should be changed, id. at 54 (citing Compl. ¶¶ 140-41, 143), which is also a “major

change” under the regulations and therefore would be preempted, Dkt. No. [89-1]

at 54 (citing 21 U.S.C. § 356a(c)(1), (2); 21 C.F.R. § 314.70(b)(1), (2); PLIVA, Inc.,




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564 U.S. at 620; In re Zantac (Ranitidine) Prods. Liability Litig., 510 F. Supp. 3d

1141, 1170-71 (S.D. Fla. 2020)).

      Again, the Court is not persuaded. Plaintiffs have sufficiently pleaded

manufacturing-defect claims based on assertions that some of the units were

defectively manufactured: that Defendants failed to follow the FDA’s

requirements, resulting in the mass production, shipment into circulation, and

use of defective and dangerous Paragards, Dkt. No. [79] ¶ 139, and that the

Paragards that injured Plaintiffs deviated from Defendants’ design or

specifications in that, among other things, they were made with unsuitable,

insufficiently flexible plastic, were made without adequate quality assurance and

control procedures to ensure product conformity, and had experienced copper

corrosion or discoloration at the time of final packing, id. ¶¶ 141, 143, 217. This is

adequate to put Defendants on notice of the bases for Plaintiffs’ manufacturing-

defect claims and to allow them to defend against them.

      Plaintiffs’ argument that claims alleging both manufacturing and design

defects should proceed to discovery is also well taken, as it may not be possible to

determine without discovery and further investigation whether a product failure

is the result of a design problem or a manufacturing problem, particularly in a

case involving FDA premarket approval, where “much of the critical information

is kept confidential as a matter of federal law.” Bausch v. Stryker Corp., 630 F.3d

546, 560 (7th Cir. 2010) (cited in Dkt. No. [136] at 57). Here, Plaintiffs aver, and

Defendants have not meaningfully countered, that they cannot allege specifically


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which written quality controls were violated without access to documents that are

under Defendants’ control. Dkt. No. [136] at 58 (citing Dkt. No. [79] ¶ 144).

      For these reasons, the Court is persuaded that the manufacturing-defect

claims are sufficiently pleaded and that there has been no showing thus far that

they are subject to preemption.

         4.     Design-Defect Claims (Failure to Warn)

      Defendants concede that despite the general prohibition against label

changes, in certain circumstances, a manufacturer may make certain “moderate”

changes to the labeling of a drug product prior to receiving FDA approval by

proceeding under the “changes being effected” or “CBE” regulation, 21 C.F.R.

§ 314.70(c)(6)(iii). Dkt. No. [89-1] at 46-51. Moderate labeling changes are those

changes defined as having a “moderate potential to have an adverse effect on the

identity, strength, quality, purity, or potency of the drug product as these factors

may relate to the safety or effectiveness of the drug product.” 21 C.F.R.

§ 314.70(c)(1), (6)(iii). The regulation permits a manufacturer to change the

labeling “to reflect newly acquired information” by “add[ing] or strengthen[ing] a

contraindication, warning, precaution, or adverse reaction for which the evidence

of a causal association satisfies the standard for inclusion in the labeling under

§ 201.57(c) of this chapter”; “add[ing] or strengthen[ing] an instruction about

dosage and administration that is intended to increase the safe use of the drug

product”; or “delet[ing] false, misleading, or unsupported indications for use or

claims for effectiveness.” 21 C.F.R. § 314.70(c)(6)(iii); accord Albrecht, 139 S. Ct.


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at 1673 (quoting 21 C.F.R. § 314.70(c)(6)(iii)(A)); Wyeth, 555 U.S. at 568.

Nevertheless, the FDA ultimately must approve a change effected under the CBE

regulation, and claims against an NDA holder are preempted where “clear

evidence” shows that the FDA would not have approved a change to the drug’s

label. Wyeth, 555 U.S. at 571-72.

      Defendants argue that Plaintiffs’ failure-to-warn claims are preempted

because the label changes they seek cannot be effected through submission of a

CBE. Dkt. No. [89-1] at 46-51. First, they contend that Paragard labeling already

adequately warns of the potential for breakage and surgery; that the label

changes Plaintiffs request would therefore amount to “wordsmithing”; and that

“wordsmithing” does not satisfy the standard for use of a CBE. Id. at 46-48.

Second, they argue that Plaintiffs cannot show that Defendants should have

changed the label under the CBE regulation because they have not pleaded that

“newly acquired information” existed that constituted reasonable evidence of a

causal association supporting a new or strengthened warning that would have

supported the submission of a CBE. Dkt. No. [89-1] at 39-41, 47-51 (citing

21 C.F.R. § 314.701(c)(6); Albrecht, 139 S. Ct. at 1679). Defendants additionally

aver that the expiration date is part of the “indications and usage” section of the

label and that they therefore could not have made a change to the expiration date

under the CBE regulation. Dkt. No. [89-1] at 50-51 (citing 21 C.F.R.

§ 314.70(c)(6)).




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      On these claims as well, Plaintiffs have the better end of the argument.

First, as previously discussed, no Paragard label—in any of its iterations—is in the

record, and thus arguments about the sufficiency of the warnings allegedly

contained therein and arguments pertaining to the location of the expiration date

on the label are not properly before the Court. See supra n.5. As also discussed,

even if the PDFs appearing at the links are accurate copies of the labels at issue in

this matter, they do not contain warnings of the strength urged by Plaintiffs. Id.

Additionally, Defendants’ general citation to 21 C.F.R. § 314.70(c)(6) does not

make clear why Paragard’s shelf-life could not have been shortened without prior

FDA approval. See Dkt. No. [89-1] at 50-51. The Court cannot and will not supply

an argument on a party’s behalf. See NLRB v. McClain of Ga., Inc., 138 F.3d 1418,

1422 (11th Cir. 1998) (“Issues raised in a perfunctory manner, without supporting

arguments and citation to authorities, are generally deemed to be waived.”).

      The argument regarding “newly acquired information” is also unavailing.

As set out above, Plaintiffs were not required to plead facts establishing the

absence of an affirmative defense. See supra Part III.D.1. And even if they were

required to make such a showing, they have alleged in the complaint that more

than 2000 Paragard breaks were documented by the FDA Adverse Event

Reporting System database between 2009 and 2020, Dkt. No. [79] ¶ 121, far

greater than the number of adverse incidents found sufficient in Wyeth, see

Wyeth, 555 U.S. at 569-70 (finding that 20 incidents over four decades was

sufficient to trigger the CBE regulation because the manufacturer “could have


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analyzed the . . . data”), and they have further alleged that Defendants

deliberately ignored, concealed, and/or failed to follow up on results from clinical

studies and physicians’ reports of adverse events, Dkt. No. [79] ¶ 311. “‘[N]ewly

acquired information’ is not limited to new data, but also encompasses ‘new

analyses of previously submitted data.’” Wyeth, 555 U.S. at 569 (quoting 73 Fed.

Reg. 49603, 49604 (2008)); see also Wyeth, id. (explaining that the rule

“accounts for the fact that risk information accumulates over time and that the

same data may take on a different meaning in light of subsequent

developments”). Plaintiffs therefore have asserted in the complaint that newly

acquired information exists that constitutes reasonable evidence of a causal

association supporting a new or strengthened warning.

      For these reasons, the undersigned concludes that there is no basis in

Defendants’ arguments for a determination that any claims arising from their

alleged failure to warn are preempted by federal law.

IV.   CONCLUSION

      In accordance with the foregoing, the Motion to Dismiss Plaintiffs’ Second

Amended Master Personal Injury Complaint, Dkt. No. [89], is DENIED. The

discovery stay is lifted, and discovery may commence consistent with the other

orders that have been entered in this case.

      IT IS SO ORDERED this 16th day of November, 2021.


                                      _____________________________
                                      Leigh Martin May
                                      United States District Judge

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